AB:KCM
F. #2022R00817

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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COMPLAINT
UNITED STATES OF AMERICA
(18 U.S.C. §§ 922(a)(1)(A), 922(g)(1)
~ against - 924(a)(1)(D))
DWAYNE PICKETT, Case No. 22-MJ-1049
Defendant.
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EASTERN DISTRICT OF NEW YORK, SS:

DEAN CONIGLIARO, being duly sworn, deposes and states that he is a Special
Agent with the Bureau of Alcohol, Tobacco, Firearms and Explosives, duly appointed according
to law and acting as such.

On or about and in between September 14, 2022 and September 27, 2022, within
the Eastern District of New York and elsewhere, the defendant DWAYNE PICKETT not being a
licensed importer, manufacturer, dealer, and collector of firearms, did knowingly and
intentionally engage in the business of dealing in firearms, to wit: one (1) Rock Island Armory
M1911 A1-FS pistol, serial number RIA2481732; one (1) Taurus 1911 9mm pistol , serial
number ACM673470; one (1) Magnum Research Inc. MR1911G pistol, serial number G-
A01836; one (1) Rock Island Armory M1911 Al-MS pistol, serial number RIA2443090; one (1)
Walther PPQ .22 Pistol, serial number PP040814; one (1) Springfield Armory Garrison pistol,
serial number NM 777986; one (1) Polymer 80 (P80) 9mm Caliber Pistol, PMF; one (1) Rock
Island Armory M1911 Al FS pistol, serial number RIA2547729; one (1) Smith & Wesson 32-S

revolver, serial number 618399; and one (1) Kel-Tec PMR-30 .22 WMR, serial number
WYA096; one (1) Ruger SR 40 pistol, serial number 342-43574; one (1) Smith and Wesson
SD9VE pistol, serial number FYR4744; one (1) Taurus G2C PT111 9mm pistol, serial number
ACG971804; one (1) Glock 22 Gen. 4 .40 caliber pistol, serial number PRG671; and one (1)
Taurus .357 revolver, serial number ABB281 132.

(Title 18, United States Code, Sections 922(a)(1)(A) and 924(a)(1)(D))

On or about and in between September 14, 2022 and September 27, 2022, within
the Eastern District of New York and elsewhere, the defendant DWAYNE PICKETT, knowing
that he had been previously convicted in a court of one or more crimes punishable by a term of
imprisonment exceeding one year, did knowingly and intentionally possess in and affecting
interstate or foreign commerce a firearm, to wit: one (1) Rock Island Armory M1911 Al-FS
pistol, serial number RIA2481732; one (1) Taurus 1911 9mm pistol , serial number
ACM673470; one (1) Magnum Research Inc. MR1911G pistol, serial number G-A01836; one
(1) Rock Island Armory M1911 A1-MS pistol, serial number RIA2443090; one (1) Walther PPQ
.22 Pistol, serial number PP040814; one (1) Springfield Armory Garrison pistol, serial number
NM 777986; one (1) Polymer 80 (P80) 9mm Caliber Pistol, PMF; one (1) Rock Island Armory
M1911 Al FS pistol, serial number RIA2547729; one (1) Smith & Wesson 32-S revolver, serial
number 618399; and one (1) Kel-Tec PMR-30 .22 WMR, serial number WYA096; one (1)
Ruger SR 40 pistol, serial number 342-43574; one (1) Smith and Wesson SD9VE pistol, serial
number FYR4744; one (1) Taurus G2C PT111 9mm pistol, serial number ACG971804; one (1)
Glock 22 Gen. 4 .40 caliber pistol, serial number PRG671; and one (1) Taurus .357 revolver,
serial number ABB281132.

(Title 18, United States Code, Section 922(g)(1))
The source of your deponent’s information and the grounds for his belief are as
follows:!

1, lam a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

‘Explosives (“ATF”) and have been for approximately eight years. I have participated in

numerous investigations involving narcotics and illegal firearms. Through my training,
education, and experience, I have become familiar with the manner in which narcotics and
firearms are trafficked.

2. Lam familiar with the facts and circumstances set forth below from my
participation in the investigation; my review of the investigative file, my training and experience
and from reports of other law enforcement officers involved in the investigation. Unless
specifically indicated, all conversations and statements described in the affidavit are set forth in
sum and substance and in part.

3. On or about September 13, 2022, an Undercover Officer (“UC”),
contacted an individual, who identified himself as “Waynehead.” The UC and “Waynehead
discussed the UC purchasing a firearm and “Waynehead” informed the UC that he had eleven
firearms for sale. At approximately 12:00 p.m. the following day, on or about September 14,
2022, the UC met “Waynehead” in the UC’s vehicle at a gas station located on 150 Street,
Jamaica, New York, which is in Queens County. As shown on video recording of the
transaction, the UC and ““Waynehead” discussed firearms, and the UC purchased 10 firearms in
exchange for $11,500. “Waynehead” also informed the UC that he has approximately 15

additional firearms that he would be willing to see to the UC the following week.

 

l Because the purpose of this Complaint is to set forth only those facts necessary to

establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which | am aware.
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4, Below is a photograph showing the firearms that ‘““Waynehead” sold to the

UC on or about September 14, 2022:

 

5. Following the September 14, 2022 purchase described above, ATF traced
the serial numbers of eight of the ten firearms to a report of 24 stolen firearms from a Federal
Firearms Licensee located in North Carolina. The same incident report also lists 16 other stolen
firearms.

6. The above recovered firearms are identified as the following: one (1) Rock
Island Armory M1911 A1-FS pistol, serial number RIA2481732; one (1) Taurus 1911 9mm
pistol , serial number ACM673470; one (1) Magnum Research Inc. MR1911G pistol, serial
number G-A01836; one (1) Rock Island Armory M1911 A1l-MS pistol, serial number

RIA2443090; one (1) Walther PPQ .22 Pistol, serial number PP040814; one (1) Springfield
Armory Garrison pistol, serial number NM 777986; one (1) Polymer 80 (P80) 9mm Caliber
Pistol, PMF; one (1) Rock Island Armory M1911 Al FS pistol, serial number RIA2547729; one
(1) Smith & Wesson 32-S revolver, serial number 618399; and one (1) Kel-Tec PMR-30 .22
WMR, serial number WYA096.

7. On or about September 13, 2022, the UC communicated with
“Waynehead” via FaceTime video call. During this FaceTime call, the UC was able to fully
observe “Waynehead’s” face. The UC compared these observations to booking photographs in
the NYPD arrest records, from which the UC determined that “Waynehead” is DWAYNE
PICKETT.

8. On or about September 15, 2022, I applied for a Cell Site Warrant, which
was authorized by the Honorable Taryn A. Merkl.2 Based upon the data received as a result of
this Order, I was able to track PICKETT’s location. I observed that PICKETT was in
Statesville, North Carolina, on or about September 20, 2022 until September 26, 2022.

9. On or about September 22, 2022, the UC contacted PICKETT via the
encrypted messaging app Telegram. PICKETT replied to the UC with a photograph of a black
semi-automatic firearm on top of a Gucci handbag, with the caption “1000.” The UC replied,
asking PICKETT if the firearm came with “food,” meaning, if it came with ammunition, to
which PICKETT replied in the affirmative. The UC asked PICKETT if there were any more, to
which PICKETT replied that he was getting the pictures now. A screenshot of the message

appears below:

 

2 See 22-MJ-1015.
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10. Shortly thereafter, at approximately 1:25 p.m. on September 22, 2022,
PICKETT sent three more photographs of firearms to the UC via Telegram, with specific pricing

under each photograph. A screenshot of the conversation appears below:
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Ll. On or about September 26, 2022, I observed that PICKETT’s location data
reflected movement north throughout the night, into the morning of September 27, 2022, where
at 8:30 a.m. I observed PICKETT’s location near the Goethals Bridge in New Jersey.

PICKETT’s location data then moved to the area around and including Jamaica, Queens, where

it remained.

 
12. As PICKETT’s location data moved northeast, PICKETT and the UC
agreed to meet on September 27, 2022, at the same location of their last transaction. PICKETT
agreed to sell the UC nine firearms for approximately $11,000.

13. At approximately 1:00 p.m., PICKETT arrived at the above-described gas
station in a black Uber SUV and exited the vehicle carrying a dark blue colored duffle bag.
PICKETT was apprehended by law enforcement officers as he approached the UC’s vehicle.

14. Law enforcement officers recovered 5 firearms and assorted ammunition
from PICKETT’s duffle bag, including: one (1) Ruger SR 40 pistol, serial number 342-43574;
one (1) Smith and Wesson SDOVE pistol, serial number FYR4744; one (1) Taurus G2C PT111
9mm pistol, serial number ACG971 804; one (1) Glock 22 Gen. 4 .40 caliber pistol, serial
number PRG671; and one (1) Taurus .357 revolver, serial number ABB281132. A photograph of

the firearms recovered in PICKETT’s duffle bag is attached below:
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15. Law enforcement records reflect that the above-mentioned Taurus G2C
PTI11 9mm pistol, serial number ACG971804, was reported stolen in Charlotte, North Carolina,
on November 28, 2021.

16. PICKETT was transported to the 113 Precinct for arrest processing. |
advised PICKETT of his Miranda rights and asked PICKETT if he was willing to make a
statement. PICKETT waived his rights, and stated, in sum and substance, that he first dealt with

the person he was supposed to meet with today [the UC] approximately three weeks prior, when
10

he sold him 10 guns for $11,000 cash. PICKETT stated that the guns he initially sold three
weeks ago were brought by him from North Carolina to New York, but that the guns PICKETT
was going to sell today were acquired from various individuals in New York. PICKETT further
stated that he was delayed today because he was trying to get more guns from another person,
but that person blew him off.

17. [have reviewed PICKETT’s criminal history, which revealed, among
other felony convictions, that on or about August 9, 2018, PICKETT was convicted of
Possession of a Firearm by a Felon, a class G felony, in violation of North Carolina General
Statutes 14-415.1, for which PICKETT was sentenced to a term of confinement of 14 months to
26 months and a term of 30 months of probation.

18. | Law enforcement officers have confirmed that PICKETT is not a licensed
firearms dealer. Furthermore, I am informed by the ATF Interstate Nexus Expert that none of
the above-described firearms, provided by PICKETT, were manufactured in the state of New
York.

WHEREFORE, your deponent respectfully requests that the defendant DWAYNE
PICKETT be dealt with according to law.

SPS OO
DEAN CONIGLIARO
Special Agent, Bureau of Alcohol, Tobacco,

Firearms and Explosives

Sworn to before me this
LZ day 9f September, 202

   

 

 

EASTERN DISTRIGQ. OF NEW YORK
